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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                          :
    Plaintiff,                     : No.: 4:19-cv-01234-MWB
                                   :
                                   : (Hon. Matthew W. Brann)
                vs.                :
                                   :
THE PENNSYLVANIA STATE UNIVERSITY, : Electronically Filed
     Defendant.                    :

                         Defendant The Pennsylvania State University’s
                   Brief in Opposition to Plaintiff’s Motion for an Emergency
                  Temporary Restraining Order and/or Preliminary Injunction


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I.           Introduction.

             Plaintiff John Doe was found responsible for sexual misconduct at

Defendant The Pennsylvania State University by a Title IX Decision Panel in April

2019. He appealed. An appeal was granted. Consistent with University policy,

a new Title IX Decision Panel hearing is now scheduled for July 23, 2019.

             With his pending motion, Doe is asking the Court to enjoin favorable relief

obtained on his internal appeal and prevent a new hearing from going forward.

There is no legal or logical basis for this position. Doe also complains throughout

his briefing 1 about a “delay” in proceedings while simultaneously seeking to stop

the hearing (which would of course end any “delay”) from going forward.

             The Court should decline to intervene in the University’s internal process in

this way—particularly before Doe even knows what the outcome is. He could

prevail on July 23 and be found not responsible. It is also notable that Doe

intimates throughout his filing that he needs a final outcome soon so he can move

forward with his life, while at the same time seeking to stop the very proceedings

that would generate that outcome.

             This internally contradictory position is subject to a simple explanation.

Doe’s complaint of “delay” is a sideshow, a mere distraction from the real point of

this exercise. Doe does not want there to be any outcome, nor give Jane Roe an

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       Doe’s brief significantly exceeds the Court’s word count and page
limitations, and no Order was entered allowing same.

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opportunity to appear before a new Panel. Doe instead wants to accelerate the

process, skip the hearing, and have this Court decree that he is not responsible for

any violation of the University’s Code of Conduct. This is not contemplated by

law nor by the University’s policy. If Doe’s injunction request is granted, this

Court assuredly will be asked on an emergent and repeated basis to superimpose its

own view on internal, administrative student conduct procedures before the

University even reaches a final decision. The Court should respectfully reject

this overture, let the University hearing go forward, and let the process play out as

it would in every other case.

II.          Background.

             Jane Roe, a University student, and Plaintiff John Doe, also a University

student, were in the Schreyer Honors College at Penn State. Roe and Doe were

together on January 26-27, 2018. Roe alleges that while they were together, Doe

digitally penetrated her vagina and had sexual intercourse with her without her

consent. Doe disputes this.

             The matter moved forward through the University’s extensive investigation

and conduct process, proceeded to a hearing before a three-person Panel (one man

and two women), and a decision was rendered on April 12, 2019. (Dkt. No. 1,

Compl., at Ex. I). The Panel found Doe responsible for a violation of the

University’s Code of Conduct, and specifically determined that Roe did not


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consent to sexual activity, but instead was coerced by Doe. The Panel determined

that Doe should be suspended from the University for the summer 2019 and fall

2019 semesters, lose campus housing, complete counseling, and engage in

education around sexual misconduct.

             Consistent with the University’s Special Protocols for Title IX Allegations,

the University’s Title IX Coordinator was notified of the outcome and “continue[d]

to work with the parties as appropriate.” (Id. at Ex. C, at p. 20, § VI(D)(24)(d)). In

working through the Panel’s decision, the Title IX Coordinator determined that he

needed clarification of the rationale behind the Panel’s findings. Doe was notified

of this in writing. (Id. at Ex. J).

             On April 26, 2019, the Title IX Coordinator wrote to the Panel chairperson

and asked for clarification on how the Panel interpreted “coercion” in the context

of reaching their decision. (See id. at Ex. K). The Panel explained to the Title IX

Coordinator that they relied upon common dictionary definitions of “coercion,” as

well as training materials they received regarding consent that explained coercion

could include such things as “pressure, duress, cajoling, compulsion, or abuse.”

(Id. at Ex. M). The Panel explained that it determined Doe “pressured” and

“cajoled” Roe to engage in sexual conduct, thereby coercing her. This was all

explained to Doe, in turn, on May 15, 2019. (See id. at Ex. L).




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             To Doe’s benefit, the University stayed the deadline for a decision on his

appeal of the Panel decision while this clarification was obtained. After this

clarification was obtained, on May 23, 2019, Danny Shaha, the University’s

Assistant Vice President for Student Affairs, wrote to appellate officer Dr. Alan

Rieck. In writing to Dr. Rieck, Mr. Shaha acknowledged that the Panel may

have misinterpreted the term “coercion” and urged that the appellate officer refer

this case to a new hearing panel. (See id. at Ex. P). Doe’s appeal was then

granted on June 13, 2019, and the case was referred to a new Title IX Decision

Panel. The hearing before that new Panel is scheduled to proceed on July 23,

2019.

             In short, the process worked.

             Despite prevailing on his request for an appeal, Doe suggests that a new

hearing is not contemplated by the University’s procedures. This is simply wrong.

The University’s internal appeal procedures explicitly state that “[i]f an appeal is

granted on the grounds that the respondent or complainant has been deprived of

their rights and/or stated procedures were not followed that affected the outcome

for the student(s), the matter will be referred to a new hearing board or Title IX

Decision Panel to be reheard.” (Id. at Ex. C, at p. 26, § VI(G)(2)(g)(i) (emphasis

added)). As noted, the University determined that the Panel likely used an

incorrect interpretation of coercion, which impacted the outcome for Doe. Exactly


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consistent with the University’s procedures, the matter has been referred to a new

Title IX Decision Panel.

             In anticipation of this new hearing, on July 16, 2019, Doe was provided with

the same document the new Panel has received clarifying the term “coercion.”

(See id. at Ex. W). Doe intentionally misreads the language and purpose of this

clarifying document. Doe (and his advisor) received this document so they will

know, as will Roe, exactly how the Panel will evaluate coercion. This allows Doe

to tailor his statements, his questions, or other aspects of his hearing presentation to

the issue of “coercion” as he deems appropriate. Despite his hollow protestations

to the contrary, this guidance document is actually incredibly helpful to Doe. For

Doe to suggest that it is nefarious, or somehow improper, is remarkable.

             In his briefing, Doe solely focuses on the word “cajoling” that appears in

this clarifying document and says—“see, they ‘retrofitted’ the meaning of coercion

to include ‘cajoling,’ knowing that the prior Panel found that I ‘cajoled’ Roe—and

this means the outcome of the July 23 hearing is a fait accompli.” Indeed, Doe’s

brief rests almost entirely on this view. Unfortunately for Doe, this intentionally

restrictive view ignores every other word in the clarifying document. (See id.).

The clarifying document also explains, in pertinent part:

                   • “Coercion is an unreasonable amount of pressure to engage in sexual
                     activity.” (italics in original). In other words, while cajoling is
                     defined as a type of pressure, simple “cajoling” is not enough to be
                     coercion—it must be an “unreasonable amount” of cajoling.

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                   • “Coercion is more than an effort to gain consent, or persuade another
                     person to engage in sexual activity.”

                   • “When determining if an individual’s behavior constitutes coercion,
                     context is everything.” (Emphasis added). In other words, “cajoling”
                     alone is not coercion. It must be cajoling to the point “where the
                     pressure is or becomes objectively unwelcomed and unreasonable.”

                   • “It’s important to realize that people negotiate sex all of the time.
                     Some amount of pressure may be okay, but too much pressure crosses
                     the line and becomes unreasonable.”

                   • The Panel should consider four factors in determining whether
                     pressure (or cajoling) was unreasonable: 1) duration (how long is it
                     occurring?); 2) frequency (how often pressuring?); 3) isolation
                     (happening in isolated one-on-one setting?); and 4) intensity.

(Id.). There is simply no doubt that this document is helpful to the Panel and

helpful to the parties—including Doe—in evaluating the facts of this case. It

provides a much more robust explanation of coercion and, to Doe’s benefit,

explains that merely finding “cajoling” is not enough for coercion, absent, in

context, an objectively unreasonable amount of pressure. This is not a revision of

the University’s policy, contrary to Doe’s suggestion. It is guidance to help the

Decision Panel in their deliberations.

             Every single word in the University’s policy is not defined—if that were the

case, the definitions would run for thousands of pages and swallow the policy

itself. Exhibit W is a clarifying document provided to assist the Panel in assessing

the evidence it receives.


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             What the University seeks to do on July 23 is convene a new Panel hearing

using this clarifying definition of “coercion” and have the new Panel determine

whether Doe is responsible for sexual misconduct based on the allegations made

by Roe. There is zero reason to enjoin this hearing before it even occurs, and

before we know what the outcome may be. Doe’s request for a TRO and for

injunctive relief should be denied.

III.         Questions presented.

             A.          Whether Doe is entitled to injunctive relief to preclude a new hearing
                         he was granted after his own successful internal appeal before the
                         hearing even occurs?
                         Suggested Answer: No.

             B.          Whether Doe is entitled to a host of substantive remedies, from
                         reinstatement in good standing at the University to expungement of
                         his disciplinary file, as part of his relief in a TRO proceeding?
                         Suggested Answer: No.

             C.          Whether Doe has demonstrated irreparable harm to support injunctive
                         relief?
                         Suggested Answer: No.

             E.          Whether the harm to the University from an injunction outweighs
                         harm to the Plaintiff from denying it?
                         Suggested Answer: Yes.

             F.          Whether the public interest supports granting or denying injunctive
                         relief?
                         Suggested Answer: The public interest in allowing universities to
                         enforce their internal, administrative policies regarding sexual
                         misconduct, and have outcomes that result from those policies,
                         supports the denial of injunctive relief.



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IV.          Argument.

             Preliminary injunctive relief is an “extraordinary remedy.” P.C. Yonkers,

Inc. v. Celebrations the Party & Seasonal Superstore, LLC, 428 F.3d 504, 508 (3d

Cir. 2005). To obtain injunctive relief, a party must demonstrate: (1) a likelihood

of success on the merits; (2) that he or she will suffer irreparable harm if the

injunction is denied; (3) that granting relief will not result in even greater harm to

the non-moving party; and (4) that the public interest favors such relief. Child

Evangelism Fellowship of N.J., Inc. v. Stafford Twp. Sch. Dist., 386 F.3d 514, 524

(3d Cir. 2004). In Yonkers, the Court recognized that “[t]he burden lies with

plaintiff to establish every element in its favor, or the grant of a preliminary

injunction is inappropriate.” 428 F.3d at 508. Whether to grant or deny a

preliminary injunction is within the sound discretion of the court. Kershner v.

Mazurkiewicz, 670 F.2d 440, 443 (3d Cir. 1982). The first two factors—likelihood

of success on the merits and irreparable harm—are the “gateway” factors and most

critical. Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017), on remand,

366 F Supp. 3d 451 (MD. Pa. 2018). If a plaintiff cannot demonstrate those two

factors, the analysis is over. If he can, then the latter two factors are considered,

and all four are balanced by the court. Id.




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             A.          Doe has not suffered and cannot demonstrate irreparable harm.

             The simplest reason to deny Doe’s request to enjoin the new Panel hearing is

this: he cannot demonstrate irreparable harm. None of us has any idea what the

outcome of the new Panel hearing will be. For example, Doe might be found not

responsible, mooting a large percentage, if not the entirety, of his Complaint.

There is no good reason to stop the hearing from going forward on Tuesday, July

23. By the end of the week, there will be a new outcome. Doe may be satisfied

with it. He may not be, in which case he can take an internal appeal and, if needed,

can proceed with this lawsuit and even seek to amend his Complaint. In either

event, there is no “irreparable harm”. To the contrary, granting injunctive relief

and negating the hearing will do irreparable harm – both to the other party

involved (Ms. Roe) and to the University’s process.

             The hearing should go forward.

             A showing of irreparable harm generally requires a “clear showing of

immediate irreparable injury.” Cont’l Grp. Inc. v. Amoco Chems. Corp., 614 F.2d

351, 359 (3d Cir. 1980) (quotations and citation omitted). The harm must be of a

type that money damages will not adequately compensate the plaintiff. Instant Air

Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 801-02 (3d Cir. 1989).

“[M]ore than a risk of irreparable harm must be demonstrated. The requisite for

injunctive relief has been characterized as a ‘clear showing of immediate


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irreparable injury,’ or a ‘presently existing actual threat.’” Johnson v. Ebbert, No.

15-cv-578, 2015 WL 1638612, at *2 (M.D. Pa. Apr. 13, 2015)2 (quoting Cont’l

Grp., Inc., 614 F.2d at 359).

             Doe simply cannot show irreparable injury if the hearing moves forward.

He may have no injury. He may claim some injury. But we will not know until

the actual hearing takes place. Additionally, to the extent Doe argues that the

collateral impact of having another hearing is causing him lost wages or new

educational opportunities, he still will not suffer irreparable harm. As Judge

Mannion noted in the case of in Howe v. Penn State – Harrisburg, No. 16-cv-102,

2016 WL 393717, at *6 (M.D. Pa. Feb. 2, 2016), if the plaintiff can demonstrate

lost scholarships or wages, those “can be compensated with monetary damages.”

Judge Mannion also logically held that “even if the plaintiff would experience a

delay as a result of his suspension [or in this case, additional proceedings], this

would not constitute irreparable harm which could not be compensated with

monetary damages in the future, if warranted.” Id. (citing Schulman v. Franklin &

Marshall Coll., 538 A.2d 49, 52 (Pa. Super. Ct. 1988)).

             Finally, Doe’s situation is easily distinguishable from the cases he cites in

support of his irreparable harm argument. For example, in Jones v. Board of

Governors of University of North Carolina, 704 F.2d 713 (4th Cir. 1983), the


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             All unpublished decisions cited herein are attached as Ex. 1.

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university cancelled the plaintiff’s registration as a result of the outcome of her

disciplinary hearing—immediately barring the plaintiff from attending classes.

Here, Doe voluntarily chose not to enroll in classes for the spring 2019 semester.

(Dkt. No. 1. ¶ 99, n. 66). Any alleged “gap in his education” is self-imposed.

             Doe’s attempt to analogize his position to that of the plaintiff in Doe v.

University of Michigan, 325 F. Supp. 3d 821 (E.D. Mich. 2018), appeal docketed,

No. 18-1870 (6th Cir. 2019), is also an overreach. In that case, the court

determined to take action because the plaintiff “may presently be without sufficient

due process protection” and was at “immediate risk of expulsion.” Id. at 826.

             The same cannot be said here. There is no indication that Doe is currently

being deprived of any sort of due process right – in fact, as of this moment, Doe’s

prior responsible finding has been vacated and a new hearing is scheduled. He is

not at immediate risk of expulsion. He is not even enrolled.

             Quite simply, Doe can neither plead nor demonstrate any irreparable harm

from a hearing that has not even occurred.

             B.          Doe has not and cannot show a likelihood of success on the merits
                         of his claims.

             The lack of irreparable harm alone dooms Doe’s TRO request. Reilly, 858

F.3d at 179. Doe also cannot demonstrate the other “most important” prong of

injunctive relief—a likelihood of success on the merits.



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                         1.   Doe has not demonstrated a likelihood of success on the
                              merits of his due process claim.

             To state a claim for a procedural due process violation under § 1983, a

plaintiff must show: (1) he was deprived of protected property or liberty interest;

(2) the deprivation was without due process; (3) defendant subjected or caused

plaintiff to be subjected to this deprivation without due process; (4) the defendant

was acting under color of state law; and (5) the plaintiff suffered injury as a result.

Borrell v. Bloomsburg Univ., 955 F. Supp. 2d 390, 402 (M.D. Pa. 2013) (quoting

Sample v. Diecks, 885 F.2d 1099, 1113-14 (3d Cir. 1989)). In this circuit, courts

have assumed, but have not specifically held, that a student at a public institution

has a property interest in continuing his or her education. Ross v. Pa. State Univ.,

445 F. Supp. 147, 152 (M.D. Pa. 1978).

             In his Complaint, Doe alleges a violation of due process resulting in what he

calls his “effective removal” from the University. 3 Even assuming that a student

voluntarily withdrawing from the University because of concerns about process

somehow implicates a protected property interest, Doe was afforded all process

required by the law and the Code.




3
      See Dkt. No. 1 at ¶ 99. What Doe buries in a footnote is that he actually was
not suspended or “removed” at all—he voluntarily withdrew from the University
for Spring 2019. See id. at ¶ 99 n. 66.

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                          a.     Student disciplinary proceedings at colleges and
                                 universities are entitled to deference.

             As Judge Posner has noted, Courts should be “reluctant to encourage further

bureaucratization by judicializing university disciplinary proceedings, mindful also

that one dimension of academic freedom is the right of academic institutions to

operate free of heavy-handed governmental, including judicial, interference.”

Osteen v. Henley, 13 F.3d 221, 225-26 (7th Cir. 1993). The role of courts is not to

retry, de novo, disciplinary charges against students. Sill v. Pa. State Univ., 462

F.2d 463, 470 (3d Cir. 1972). Indeed, as this Court has stated, “it is not this

Court’s job to judge the wisdom of the University’s disciplinary procedures, but

instead to ask whether those procedures deserve a blow from the heavy hammer of

the United States Constitution.” Doe v. Pa. State Univ., No. 4:18-cv-02350, 2019

WL 2324506, at *5 (M.D. Pa. May 31, 2019).

             This matter is not about a single letter from the Office for Civil Rights, a

2015 task force at the University, or any of the other distractions raised by Doe.

This matter is squarely about the ability of a university to investigate an allegation

that a student forced his fingers into the vagina of a classmate and had painful

sexual intercourse with her, without her effective consent. The University must be

able to investigate such allegations. It must be able to render a decision on

responsibility. It must be able to decide what sanctions are appropriate. The

strength of these considerations far outweigh Doe’s request for injunctive relief,

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for which he can neither show likelihood of success on the merits nor irreparable

harm.

             As alluded to above, Judge Mannion evaluated a very similar injunctive

request, against this same University, in Howe, 2016 WL 393717. Doe (and his

counsel) know full well that the Howe case is squarely on point.

             The plaintiff in Howe sought an injunction to halt imposition of a suspension

entered against him at the University’s Harrisburg campus, and order the

University to let him back into school. Id. at *1. He, much like Doe, primarily

focused on the University’s alleged breach of his due process rights. Id. at *4.

             In denying the plaintiff’s request for this extraordinary relief, Judge

Mannion noted that all that due process requires is “notice of the charges they [the

respondent] face and the nature of the evidence supporting those charges.” Id at

*5. As referenced above and detailed below, Doe here had abundant notice of the

charges he faced, and multiple opportunities to discuss and review the evidence

supporting those charges, both before and at the disciplinary hearing. Doe also had

a chance to appeal the outcome, which he did, and his appeal was granted. Right

now, his suspension is on hold, pending a new hearing.

             “[T]he primary purpose of a university is to educate its students [and,

accordingly] . . . a school disciplinary proceeding is not a criminal trial.” Jaksa v.

Regents of Univ. of Mich., 597 F. Supp. 1245, 1250 (E.D. Mich. 1984) (internal


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marks and citations omitted), aff’d, 787 F.2d 590 (6th Cir. 1986). Unlike the

criminal setting, in a university disciplinary hearing, due process is sufficient so

long as the University provides the accused student notice and an opportunity to be

heard. Goss v. Lopez, 419 U.S. 565, 579 (1975). See also Gomes v. Univ. of Me.

Sys., 365 F. Supp. 2d 6, 15 (D. Me. 2005) (“At a minimum, students facing

disciplinary action, such as a suspension, must be given some kind of notice and

afforded some kind of hearing.” (internal citations omitted)); Psi Upsilon of

Philadelphia v. Univ. of Pa., 591 A.2d 755, 760 (Pa. 1991); Nash v. Auburn Univ.,

812 F.2d 655, 664 (11th Cir. 1987) (student rights in the disciplinary context “are

not co-extensive with the rights of litigants in a civil trial or with those of

defendants in a criminal trial.”); Gorman v. Univ. of R.I., 837 F.2d 7, 12-14 (1st

Cir. 1988) (same).

             An accused student has the right to receive notice of the allegations against

him, and a right to respond and defend, which will generally include the

opportunity to make at least one statement and present evidence. Flaim v. Med.

Coll. of Ohio, 418 F.3d 629, 636 (6th Cir. 2005). Once a court has satisfied itself

that “fundamentally fair procedures to determine whether the misconduct has

occurred,” the inquiry ends absent extraordinary circumstances. Id. at 634

(quotations omitted).




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             Courts recognize that a state-related institution, such as the University, is

entitled to establish rules and regulations for disciplinary proceedings. Courts also

recognize that disciplinary hearings are part of the educational process. See Furey

v. Temple Univ., 884 F. Supp. 2d 223, 247 (E.D. Pa. 2012) (recognizing state-

related university’s interest in administering “discipline in a way that contributed

to the educational process”). Courts should only weigh in on these internal

disciplinary proceedings where it is clear that constitutional rights have been

infringed. Segal v. Temple Univ. Sch. of Law, 1999 WL 1210838, at *1 (E.D. Pa.

Dec. 8, 1999), aff’d, 242 F.3d 371 (3d Cir. 2000) (citing Esteban v. Cent. Mo. State

Coll., 415 F.2d 1077, 1090 (8th Cir. 1969)). See also Gati v. Univ. of Pittsburgh,

91 A.3d 723, 731 (Pa. Super. Ct. 2014) (state-related university has broad

discretion to implement and enforce disciplinary rules).

             Additionally, universities in this Commonwealth enjoy a presumption of

impartiality and fairness in favor of school administrators in a disciplinary

proceeding setting. Furey, 884 F. Supp. 2d at 255; Osei v. Temple Univ., No. 15-

cv-2042, 2011 WL 4549609, at *11 (E.D. Pa. Sept. 30, 2011), aff’d, 518 F. App’x

86 (3d Cir. 2013). Doe bears the burden of rebutting this presumption with

sufficient evidence. Furey, 884 F. Supp. 2d at 255 (allegations of prejudice of

university hearing bodies must be based on more than mere speculation and

tenuous inferences). Doe has not done so.


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             Before going through Doe’s individual due process arguments, it must be

noted that Doe manages to file a thirty-page brief about due process under the

University’s Title IX procedures without once mentioning this Court’s ruling on

May 31, 2019 that rejected many of these same arguments. See Doe v. Pa. State

Univ., 2019 WL 2324506. This is particularly remarkable as the same counsel

represented the “John Doe” Plaintiffs in each case. The failure to acknowledge, let

alone distinguish, this Court’s May 31 Memorandum Opinion is a glaring

omission, at best.

                               b.     Doe’s complaints do not raise due process violations.

             Doe claims his due process rights were violated in the following ways:

             i.          Doe claims he was denied the opportunity to be heard because Roe
                         was purportedly allowed to submit new evidence at the prior hearing,
                         and he was not permitted to respond. (Dkt. No. 4, Pl.’s Br. in Supp. of
                         Mot. for TRO and/or Prelim. Inj., at 13).

             ii.         Doe claims that he was denied the right to directly cross-examine Roe.
                         He contends that submitting questions to the Panel, to in turn be asked
                         of Roe, was insufficient. (Id. at 14-17).

             iii.        Doe claims that holding a new hearing, rather than simply vacating
                         the prior Panel’s finding, was a violation of due process. (Id. at 17-
                         19).

             iv.         Doe claims that the University’s investigative model and hearing
                         process denied him the right to an impartial decision maker. (Id. at
                         19-21).

             v.          Doe claims that the University failed to follow its own policies at and
                         since the hearing. (Id. at 21-22).


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             These allegations will be addressed in turn.

                                     i.     Doe was not denied the opportunity to be heard.

             Under the University’s procedures, Doe was permitted to personally address

the Panel and submit questions to be posed to the other party by and through the

Panel. (See Dkt. No. 1 at Ex. C, at 19-20). He was given the right to be heard in

this way.

             Stretching to articulate a due process claim, Doe contends that Roe was

permitted to prevent “new information” during the hearing, that he was not given

an opportunity to respond, and that this constituted a due process violation. (See

id. ¶¶ 62-65). First of all, Doe’s own words are as follows: “[Roe] provided an ad

hoc explanation of the meaning of her texts and prior statements to the

investigator.” (Id. ¶ 63). In other words, Roe was permitted to personally address

the hearing authority, just as Doe was. This is no due process violation, this is

exactly what is contemplated by the University’s policy:

                         The respondent and the complainant will each have the
                         opportunity to personally address the hearing authority in
                         person so that they may highlight the information that
                         they believe is most relevant to the hearing authority’s
                         deliberation and so that they may respond to questions
                         that may be posed by the hearing authority and the
                         investigator, if any[.]




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(Id. at Ex. C, at p. 20, § (VI)(D)(20)). The notion that Roe talking to the Panel was

somehow “new information” is absurd, and falls woefully short of stating any due

process violation.

             Perhaps more importantly, even if there was some due process issue with the

April 2019 hearing, the University has scheduled a new hearing which can cure

any such issues. In other words, any impact of Doe’s alleged failure to be heard at

the last hearing is moot, because the last hearing Panel decision has been reversed

and is no longer binding.

                               ii.    Doe’s due process rights were not violated by
                                      posing questions to Roe through the Panel.

             The University’s Code explains that parties may “suggest questions to be

posed to the other party by and through the Panel,” and that the Panel has authority

to “review the proposed question(s) for relevance and appropriateness before they

are posed to the other party.” (Id. at Ex. C, at p. 20, § VI(D)(22)). Doe cites to

non- binding Sixth Circuit opinions and a University decision under a different

policy in support of his contention that this cross-examination process somehow

deprived him of due process. Amazingly, Doe completely fails to acknowledge

this Court’s opinion in May 31, 2019, where his counsel made this same exact

argument about this exact same cross-examination procedure. The Court rejected

this argument in that May 2019 opinion and granted the University’s motion to

dismiss the due process claim, noting: “courts have upheld cross-examination

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procedures similar to the one offered to Mr. Doe.” Doe v. Pa. State. Univ., 2019

WL 2324506, at *2 (citing Furey v. Temple Univ., 884 F. Supp. 2d at 252 (finding

due process satisfied where the accused student “was able to cross examine the

witness by posing questions through the Chair.”)). There was no due process

violation here. Both parties had the right to submit questions to the Panel, and the

Panel had the authority to screen the questions and then ask those it deemed to be

relevant and appropriate.

             Finally, even if Doe disagrees with the decisions made by the Panel about

what questions to ask, that disagreement is not a due process violation. See., e.g.,

Jaksa, 597 F. Supp. at 1251 (university’s “disregard of its own regulation is a

constitutional deprivation only where there is an independent due process right to

the procedure contained in the agency’s rule”). Doe may not like certain decisions

made by the Panel or decisions regarding evidence supplied to the Panel, but what

matters is whether the University followed its process in making those decisions.

             It did.

                                iii.   The University’s procedures specifically
                                       contemplate that a new hearing may be granted on
                                       appeal, there is no Due Process violation.

             Doe next seems to suggest that the University has violated due process by

vacating the prior Panel decision and scheduling a new hearing, instead of just

vacating the prior Panel decision, period. (Dkt. No. 4 at pp. 17-19). This argument


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makes no sense and is directly belied by the applicable University appeal

procedures which state, in pertinent part, that:

                         If an appeal is granted on the grounds that the respondent
                         or complainant has been deprived of their rights and/or
                         stated procedures were not followed that affected the
                         outcome for the student(s), the matter will be referred to
                         a new hearing board or Title IX Decision Panel to be
                         reheard. (Emphasis added).

(Dkt. No. 1 at Ex. C, at p. 26, § VI(G)(2)(i)). The University is literally following

the exact procedures that apply when it believes that a student—in this case, Doe—

may have been impacted by a mistake in the prior hearing. It granted Doe’s

appeal, and it is referring the matter to a new Title IX Decision Panel. If the

University did not schedule a new hearing, both parties might have a claim of a

due process violation. But to suggest the University has somehow violated due

process by precisely following its process makes no sense, factually or legally.

             To the extent that Doe is arguing that there was a “violation” of process

because Mr. Shaha, as designee of Ms. Feldbaum, interjected and recommended

that a new hearing occur, this argument, too, is unavailing. First, Mr. Shaha

submitted his letter to the appeals officer as a designee of Senior Director

Feldbaum, who, on behalf of the University, has the authority to request a review

of a hearing decision under Section III(A)(8) of the Code of Conduct. (Dkt. 1 at

Ex. C, Section III(A)(8). Moreover, the University’s appeal processes clearly

state that “[n]o decision should be overturned or modified without consultation

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with the Vice President for Student Affairs, Senior Director, or Chancellor.”

(Dkt. No. 1 at Ex. C, at p. 26, § VI(G)(2)(f)). Mr. Shaha had every right to

intervene as Ms. Feldbaum’s designee. In fact, had the University not solicited the

input of Senior Director Feldbaum (or her designee), one of the parties might claim

that to be a process violation. Seeking input and consultation is exactly what is

expected.

             Moreover, Doe flat-out misstates what Mr. Shaha wrote, arguing in his Brief

that Mr. Shaha “instructed the appeals officer to order a re-prosecution.” (Dkt. No.

4, at 21). This is not accurate. Instead, Mr. Shaha wrote as follows: “I formally

request that you refer the case to a new hearing board.” (Dkt. No. 1, at Ex. P

(emphasis added)). This is not a demand or an instruction, but a “request,” in Mr.

Shaha’s own words. Moreover, the word “prosecution” never appears, and Doe’s

attempt to use this inflammatory word should be rejected. The handling of Doe’s

appeal was entirely consistent with the University’s process, and most importantly,

he suffered no prejudice—his appeal was granted.

             Finally, even if Mr. Shaha’s involvement with the appeal could somehow be

construed as a literal “deviation” from the Code, it was minor and, as noted, did

not affect the outcome. It is not as though Doe lost his appeal as a result. His

appeal was granted, giving him a second chance to defend the merits of the charges

against him. See Furey, 884 F. Supp. 2d at 249 (“A minor deviation from a


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school’s regulations that does not affect the fundamental fairness of the process is

not itself a due process violation.”) (citing Winnick v. Manning, 460 F.2d 545, 550

(2d Cir. 1972)).

             Doe’s “double jeopardy” argument against a new hearing is similarly

unavailing. At the outset, courts—including the United States Supreme Court—

have routinely held the double jeopardy protections of the Constitution do not

apply beyond criminal proceedings. See, e.g., Hudson v. U.S., 522 U.S. 93, 98-99

(1997) (“The [Double Jeopardy] Clause protects only against the imposition of

multiple criminal punishments for the same offense.”) (citing Helvering v.

Mitchell, 303 U.S. 391, 399 (1938) (the Double Jeopardy clause prohibits the

government from “attempting a second time to punish criminally for the same

offense”)). Moreover, numerous courts have explicitly confirmed that the Double

Jeopardy Clause does not apply in the context of student conduct proceedings.

See, e.g., Doe v. Univ. of S.C., C/A No. 3:18-161-TLW-PJG, 2018 WL 1215045, at

*6 n.10 (D.S.C. Feb. 12, 2018) (holding that the Double Jeopardy Clause does not

apply to university disciplinary proceedings), report and recommendation adopted,

2018 WL 1182508 (D.S.C. Mar. 6, 2018) (citing Hudson, 522 U.S. at 98-99; Ctr.

for Participant Ed. v. Marshall, 337 F. Supp. 126, 137 (N.D. Fla. 1972) (finding a

university disciplinary proceeding was civil in nature, rather than criminal, because

it did not involve a loss of life or liberty and, therefore, the Double Jeopardy clause


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was not implicated); Paine v. Bd. of Regents of Univ. of Tex. Sys., 355 F. Supp.

199, 203 (W.D. Tex. 1972) (providing that a university’s disciplinary rules were

civil, remedial, or administrative in nature, and thus, did not implicate the Double

Jeopardy Clause)).

             To the extent Doe attempts to analogize his case to the unpublished, non-

binding opinion of Tanyi v. Appalachian State University, No. 5:14-cv-170RLV,

2015 WL 4478853 (W.D.N.C. July 22, 2015), his argument falters. The court in

Tanyi found that holding a second hearing was unfair where the university

admitted that it had failed to prove its case against the accused student during the

first hearing and could articulate no legitimate reason for a re-hearing. Id. at *6.

Here, there was both a finding against Doe at the initial hearing and a legitimate

reason for a new hearing – the procedural irregularity discussed at length above.

(Dkt. No. 1 at Ex. C, at p. 26, § VI(G)(2)(f)). Not only having a new hearing

fundamentally fair, it entitles Doe to the process he argues is due.

                                iv.   The distribution of a clarifying document
                                      regarding the meaning of “coercion” in advance of
                                      the July 23, 2019 hearing is not a violation of due
                                      process.

             Title IX Coordinator Harris has provided the Panel and the parties with

clarifying information about the term “coercion.” Doe’s characterization of this

document as a “new, seemingly retrofitted definition” is incorrect and misleading.

(Dkt. No. 4 at 6 (citing Dkt. No. 1 at Ex. W)). Mr. Harris explained to Doe that the

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document was a “clarification that will be provided to the decision panel.” (Dkt.

No. 1 at Ex. W.) This document does not modify University policy nor have the

binding effect on the Panel of University policy. It is illustrative and instructive.

             Finally, despite Doe’s argument, this clarifying document does not change

the University’s definition of “consent,” which specifically references the concept

of “coercion.” (Id. at Ex. X). Though the University’s policy does not define the

term, Black’s Law Dictionary defines “coercion” as the “[c]ompulsion of a free

agent by physical, moral, or economic force or threat of physical force.” Black’s

Law Dictionary (11th ed. 2019). Mr. Harris’s document expounds on that concept

but does not deviate from it:

                         “Coercion” is an unreasonable amount of pressure to
                         engage in sexual activity. Coercion is more than an
                         effort to gain consent, or persuade, entice, or attract
                         another person to engage in sexual activity. Coercion
                         includes elements of pressure (e.g., duress, cajoling,
                         compulsion or abuse).

(Id. at Ex. W (emphasis in original)). The document also explains that coercion

occurs “where the pressure is or becomes objectively unwelcomed and

unreasonable, or the point when a person concedes to sexual activity due to the use

of words or behavior that causes or threatens to cause severe emotional distress

and/or psychological harm.” (Id.).

             Notably, Doe fails to identify any portion of this document that Doe believes

contravenes the meaning of coercion. In other words, Doe does not argue that the

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clarifications and examples of “coercion” are invalid. More remarkably, Doe

intentionally ignores the reality that this document could well be helpful to him.

This document notes that “seduction is reasonable, and coercion [i]s unreasonable.

Seduction is welcomed sexual advances that may initially be rebuffed but where

the object of the pressure ultimately wants to be convinced to engage in sexual

activity or welcome the activity, or a reasonable person would perceive it so.”

(Dkt. No. 1 at Ex. W (emphasis added)). Further, the document emphasizes the

following: “[i]t’s important to realize that people negotiate sex all of the time.

Some amount of pressure may be okay, but too much pressure crosses the line and

becomes unreasonable.” (Id.). Finally, and critically, this document also makes

clear that “context is everything” when evaluating coercion and consent.

             Doe has decided that this document will harm him at the hearing simply

because it has the word “cajoling” in it. As detailed above, taken in its entirety,

this document will clearly help the new Panel, and it may actually help Doe. The

Court should see what happens before enjoining a hearing that, again, could end in

Doe’s favor.

                                v.    The University’s investigative and hearing
                                      procedures were fair and impartial.

             In attacking the University’s investigation and decision making processes as

biased and unfair, Doe makes many of the same arguments his counsel

unsuccessfully made in Doe v. Pennsylvania State University, 2019 WL 2324506.

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Doe conveniently ignores this extremely recent decision and harkens back to

earlier decisions of this Court that evaluated prior versions of the University’s Title

IX process, like Doe v. Pennsylvania State University, 336 F. Supp. 3d 441 (M.D.

Pa. 2018).

             The University’s current investigative model does not violate due process.

The notion that Doe is excluded from the process and that the investigator acts as a

secret “funnel” of information is belied by the investigation process itself,

something which Doe conveniently omits from his Complaint and Exhibit package,

even though the procedures are referenced therein (and therefore incorporated).

Those procedures are attached hereto as Exhibit 2. Pertinent provisions include:

                   • There will be a preliminary investigation, where the respondent (Doe,
                     here) may provide his perspective on the allegations. (Ex. 2, at 6-7).

                   • If, as here, there is a formal complaint made, the investigation will be
                     handled by a trained investigator in a “prompt, thorough, fair, and
                     impartial” manner. (Id. at 8).

                   • The investigator will review the matter with the respondent and give
                     him (and the complainant) a meaningful opportunity to be heard.
                     (Id.).

                   • When the investigator completes his initial investigation, he will
                     provide a draft investigative packet to the parties, and the parties have
                     the “opportunity to meet with the assigned investigator in order to
                     review the draft Investigative Packet, submit additional information or
                     comments, and submit any additional questions that they believe
                     should be asked of any party or witness . . . the assigned investigator
                     will review and address any questions or follow-up submitted by the
                     parties in response to the draft Investigative Packet, as appropriate,
                     [which] may include conducting additional investigation[.] The

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                         parties will be provided with an opportunity to review any new
                         information that is added to the Investigative Packet before it is
                         finalized[.] The assigned Investigator will not include a
                         recommended finding of responsibility in the final Investigative
                         Packet. (Id. at 9).

             Doe’s argument that the investigator is pulling strings behind the scenes, and

that he has little or no visibility into the investigator’s procedures or guidelines,

falls flat. As the respondent, Doe gets to interact with a case manager once, with

the investigator as many as three times, and literally gets to see and comment on

the investigator’s work product and thought process throughout the investigation.

This procedure provides more than adequate due process. Other than generic

complaints, Doe fails to explain how or why he was harmed by this process—let

alone how he suffered a constitutional deprivation during the investigation.

             Doe next moves to attack the Interim Senior Director of the Office of

Student Conduct, Karen Feldbaum, for exercising “undue influence” over the

process. In doing so, John Doe uses the same exact vague allegations that were

raised, and rejected, in the May 2019 Doe case, where the plaintiff was represented

by the same counsel. As this Court stated in the May 2019 Doe case, dismissing

this same exact argument for failure to state a claim, “Mr. Doe’s generic

allegations that the panel was biased because it was somehow ‘under [Ms.

Feldbaum’s] control is too vague to overcome the ‘presumption of impartiality of




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. . . school administrators.” Doe, 2019 WL 2324506, at *2. Doe’s claim here is no

different, and equally unavailing.

             Finally, Doe has a catch-all argument that “the University violated Doe’s

right to due process by failing to follow its policies,” which is essentially a hodge-

podge of everything addressed above. (Dkt. No. 4, at 21-22.) This argument fails

for the same reasons already discussed.

             Doe is not likely to succeed on the merits of any of his due process claims.

There is no basis to grant an injunction or the extraordinary remedy of a temporary

restraining order on this basis.

                         2.    Doe also has not demonstrated a likelihood of success on the
                               merits of his Title IX claim.

             Doe also seeks injunctive relief based on his Title IX claim. (Id. at 23). His

Title IX argument is half-hearted at best, taking up barely one page of his brief.

(Id. at 22-23). In any event, the allegations in Doe’s Complaint do not support a

cognizable claim under Title IX, let alone one that warrants injunctive relief.

                               a.     Doe cannot succeed on his Title IX claim under any
                                      recognized theory of Title IX liability.

             Doe cannot succeed on the merits of his Title IX claim. The entirety of his

argument is conclusory and lacks any specific factual allegations:

                         Gender discrimination and gender stereotypes permeated
                         the investigation, the original outcome, the rewrite of the
                         definition of “consent”, and the decision for a new


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                         hearing. The Title IX Panel’s April 12, 2019 rationale4
                         and the new definition of “consent” is based on outdated
                         stereotypes and a biased perspective regarding the
                         behavior of women 5 during sexual encounters.
                         Moreover, the investigative team and the Case Manager
                         function as Roe’s advocate – including moving the case
                         forward if the Complainant’s narrative is remotely
                         plausible – rather than an objective fact finder and neutral
                         gatekeeper.

(Id.). That is it. No specific allegations. No evidence. No explanation of how

gender allegedly impacted anything.

             As for the point about the Case Manager deciding to “move this case

forward,” the standard for proceeding to an investigation is the same for any

complainant and respondent, regardless of gender, and Doe does not and cannot

plead otherwise. (See Dkt. No. 1 at Ex. C, at p. 18, § VI(D) (recommendation of

charges and moving forward based on information from complainant and

respondent, having literally nothing to do with their gender)).

             Finding no rationale for Doe’s Title IX claim in his briefing, we should also

consider the Title IX allegations in Doe’s Complaint. While unclear, the

Complaint suggests that Doe may be attempting to articulate both “erroneous

outcome” and “selective enforcement” Title IX claims.


4
      A rationale which is moot, of course, because the University has granted
Doe’s appeal.
5
      This might be, if anything, a claim that a female student could assert—not a
male student.

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             To prevail on a Title IX claim under an “erroneous outcome” theory, Doe

must plead and then present evidence to “cast articulable doubt on the accuracy of

the outcome of the disciplinary proceeding,” and prove a causal connection

between the flawed outcome and alleged gender bias. Yusuf v. Vassar Coll., 35

F.3d 709, 715 (2d Cir. 1994). To prevail on a “selective enforcement” theory, Doe

must adequately plead that regardless of his guilt or innocence, he was treated

differently in the process than a similarly situated female would have been. Id.

             Doe will not be able to prevail on his “erroneous outcome” theory. Most

fundamentally, this theory fails because the outcome about which he is

complaining has been vacated, which is the entire reason for the new, upcoming

July 23 hearing. In fact, is really is worth pausing to contemplate the Orwellian

argument Doe is making: the Court should find that the prior hearing outcome was

erroneous based on Doe’s gender, while at the same time mark that hearing in

stone and preclude the University from conducting a new hearing where theoretical

gender-based issues could be rectified. This is a truly remarkable argument. Doe’s

argument actually counsels entirely for proceeding with a new hearing, not

enjoining it.

             Doe’s allegation that he “may” face a permanent notation of his Penn State

transcript also does not support his erroneous outcome claim, and certainly does




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not support injunctive relief. He “may not” face such a notation, too. This

uncertainty is precisely why the hearing should proceed on July 23.

             Finally, Doe makes no credible argument regarding selective enforcement in

violation of Title IX. Doe alleges no facts to suggest that the University enforces

conduct matters only against males, or finds males responsible when similarly

situated female students are not held responsible. He instead makes the blanket,

factually unsupported assertion that “[m]ale respondents in sexual misconduct

cases at Defendant Penn State are discriminated against solely on the basis of sex.

They are invariably found guilty, regardless of the evidence, or lack thereof [.]”

(Dkt. No. 1 at ¶ 105).6 Doe also suggests, seemingly, that Penn State selectively

enforces its sexual misconduct policies because there is a “higher incidence of

female complainants of sexual misconduct versus male complainants of sexual

misconduct.” (Id. at ¶ 111). Of course, the University does not decide who comes

forward with allegations of sexual misconduct, and if the University refused to

respond to allegations because a complainant was female—well, it would then be

accused of a different type of bias. Penn State addresses complaints made by

complainants against respondents, regardless of gender. Period.




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      Doe’s counsel, who has personally represented many other University
students in conduct proceedings, definitively knows the assertion that all male
respondents are “found responsible” at the University to be false.

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             Finally, Doe’s vague and rambling claims about “gender discrimination and

stereotypes” are nothing more than bald assertions unsupported by any facts or

even credible allegations, and therefore do not support a Title IX claim. (Dkt. No.

4, at pp. 20-25). See Gorman, 837 F.2d at 15 (allegations of “prejudice of

university hearing bodies must be based on more than mere speculation and

tenuous inferences.”) (quotation omitted); see also Harris v. St. Joseph’s Univ.,

No. 13-3937, 2014 WL 1910242, at *4 (E.D. Pa. May 13, 2014) (sweeping

allegations of “impermissible gender bias” insufficient to state a claim for violation

of Title IX).

             C.          Granting the preliminary injunction will result in greater harm to
                         the University and its students than to Doe.

             If injunctive relief is granted here, every time a disciplined student is

unhappy with the outcome of an internal, administrative student conduct process,

he or she will run to Court. The University’s ability to enforce discipline on its

campus and protect the safety of its students—particularly in the case of alleged

sexual misconduct—will be diminished. Granting injunctive relief here will result

in greater harm to the University, its students, and institutions of higher education

throughout this Commonwealth, than to Doe. By contrast, if injunctive relief is

denied, here is what will happen: a new hearing, a result of Doe’s own, successful




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internal appeal, will move forward on July 23. 7 We will all know what legal

claims, if any, Doe may wish to pursue by the end of the week. This civil action, if

continued by Doe, can then proceed quickly to briefing (the University will be

filing a 12(b)(6) motion), through any discovery, and to resolution. If Doe

prevails, he can seek money damages and reinstatement of his status at the

University, if applicable. Nothing is irreparable.

             Granting injunctive relief, by contrast, creates a very real risk that our

federal courts will be placed in the position of second-guessing every internal,

administrative university conduct proceeding. That is not good public policy, and

not good for students, whether complainant or respondent.

             D.          The University and the public at large share a strong interest in
                         providing a safe educational community and conserving
                         resources.
             The University has a significant interest in investigating and, when

appropriate, disciplining students for misconduct. The Third Circuit and Supreme

Court have recognized “the need for maintaining order and discipline in our

schools without prohibitive costs and in a manner that will contribute to, rather

than disrupt, the educational process.” Palmer by Palmer v. Merluzzi, 868 F.2d 90,

95 (3d Cir. 1989) (citing Goss, 419 U.S. at 584). Another court recognized that a


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      The University has offered to move the hearing to July 29 if that is
preferable for Doe, or perhaps even a later date if he requires a bit more additional
time. He has not responded. So, right now, the hearing will proceed on July 23.

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state-related university “must maintain safety on its campus and protect its student

body from intimidation, threats, and sexual assault.” Johnson, 2013 WL 5298484,

at *8.

V.           Conclusion.

             Doe wants to stop a new hearing that is intended to rectify concerns about

his prior hearing. The Court must allow educational institutions to complete their

own internal processes before students can run to Court to disrupt them.

             Doe can claim no irreparable harm resulting from a hearing that has not yet

occurred. He may have no harm at all. Moreover, as detailed above, Doe is not

likely to prevail on the merits of his claims.

             Finally, the public’s interest and the University’s interest is in enforcing

student discipline, to everyone’s benefit.

             Doe’s Motion for injunctive relief should be denied.




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                                                Respectfully submitted,

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                                    Word Count Certificate

             In accordance with L.R. 7.8(b)(2), I hereby certify that the foregoing Brief

contains 8,406 words as calculated by Microsoft Word.8



Dated: July 21, 2019                                      /s/ Cory S. Winter
                                                          Cory S. Winter




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      On July 19, 2019, the University filed a Motion to Exceed the Page
Limitation of L.R. 7.8(b) (Dkt. No. 10). At the time this Brief was filed, that
Motion remained pending. Counsel for the University would ordinarily wait until
the Court disposed of the Motion before filing this Brief. But given the emergency
nature of Doe’s Motion, and the telephonic conference scheduled for July 22,
2019, at 2:00 p.m., the University’s counsel filed this Brief to ensure that the Court
had an opportunity to review it before the July 22 conference.

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                                     Certificate of Service

             I hereby certify that on July 21, 2019, a copy of the foregoing was filed

electronically with this Court. Notice of this filing will be sent by operation of

the Court’s electronic filing system to all parties indicated on the electronic filing

receipt. Parties may access this filing through the Court’s system.

                                                    /s/ Cory S. Winter
                                                    Cory S. Winter




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